            Case 5:07-cv-00799-D Document 102 Filed 11/05/09 Page 1 of 10




                          IN THE UNITED STATES DISTRICT COURT

                       FOR THE WESTERN DISTRICT OF OKLAHOMA



WILLIE MORGAN,                                     )
                                                   )
                        Plaintiff,                 )
                                                   )
v.                                                 )    Case No. CIV-07-799-D
                                                   )
VALLEY INSURANCE COMPANY, et al.,                  )
                                                   )
                        Defendant.                 )


                                             ORDER

        The matters before the Court are Plaintiff’s Motions in Limine [Doc. No. 66] and Defendant

Valley Insurance Company’s Motion in Limine [Doc. No. 74], which are at issue.1

A.      Plaintiff’s Motions in Limine

        Plaintiff seeks to exclude evidence and argument in three subject areas: (1) Plaintiff’s plea

of guilty to a felony alcohol-related traffic offense and receipt of a deferred sentence during the

pendency of this case; (2) an insurance application Plaintiff signed on April 26, 2006, that contained

an incomplete list of prior traffic tickets or accidents; and (3) Plaintiff’s refusal of a request by

Defendant – communicated between counsel for the parties during the pendency of this case – to

participate in an appraisal process available under the insurance policy.




        1
           Because only Defendant Valley Insurance Company has moved or responded to Plaintiff’s Motion,
all references to “Defendant” in this Order shall mean Valley Insurance Company.
            Case 5:07-cv-00799-D Document 102 Filed 11/05/09 Page 2 of 10




       1.      Plaintiff’s Felony Offense

       Plaintiff was arrested on November 13, 2007, for being in actual physical control of a motor

vehicle while intoxicated. Plaintiff entered a plea of guilty to the felony charge on October 22,

2008, and received a five-year deferred sentence. Plaintiff asserts that a deferred sentence is not a

felony conviction under Oklahoma law and thus evidence of the guilty plea is not proper

impeachment evidence under Fed. R. Evid. 609. Plaintiff also asserts that evidence of this arrest and

guilty plea are irrelevant to the trial issues and would be unduly prejudicial, and thus should be

excluded under Fed. R. Evid. 402 and 403.

       Defendant responds that Plaintiff’s November, 2007, felony arrest and prosecution “and a

number of his other past criminal offenses” are relevant to damages issues. Defendant’s theory of

admissibility is that evidence of Plaintiff’s criminal history diminishes his standing in the

community and undermines his claim to have suffered embarrassment or loss of reputation in the

community as a result of Defendant’s alleged bad faith conduct. Defendant further contends this

“bad acts” evidence is governed by Fed. R. Evid. 404(b). See Def.’s Resp. Br. [Doc. No. 82] at 2.

Applying this rule, Defendant argues that the evidence is admissible for a proper purpose, namely,

“to show that any public humiliation, embarrassment, loss of reputation and mental pain and

suffering was caused, or at least exacerbated, by Plaintiff’s public behavior and . . . was not solely

caused, if at all, by dealing with his insurance company on this claim.” Id. at 3.

       The Court rejects Defendant’s theory of admissibility under Rule 404(b). The only criminal

offenses reflected in the record are Plaintiff’s November, 2007, felony and minor traffic offenses

that predate the events at issue in this case. Defendant fails to explain, and the Court cannot

ascertain, how Plaintiff’s earlier offenses would have any impact on his alleged damages. Further,

                                                  2
            Case 5:07-cv-00799-D Document 102 Filed 11/05/09 Page 3 of 10




under the circumstances, the Court finds that evidence of Plaintiff’s felony offense should be

excluded as well. Any probative value of the evidence on the issue of Plaintiff’s damages is far

outweighed by the likelihood of unfair prejudice to Plaintiff, rendering the evidence inadmissible

under Rule 403. To the extent Defendant argues for admissibility under Rule 404(b), the Court finds

Defendant’s proposed use of this evidence would not serve a proper purpose under that rule.2 See

Huddleston v. United States, 485 U.S. 681, 691-92 (1988) (discussing admissibility of Rule 404(b)

evidence in a civil case); Turley v. State Farm Mut. Auto. Ins. Co., 944 F.2d 669, 675 (10th Cir.

1991) (same).

        Defendant does not address the admissibility of Plaintiff’s felony guilty plea for

impeachment purposes under Rule 609. The Court notes, however, that evidentiary matters in

federal court are governed by federal, and not state, law. The court of appeals held in United States

v. Turner, 497 F.2d 406, 407 (10th Cir. 1974), that a guilty plea and deferred judgment under Okla.

Stat. tit. 22, § 991c, could be treated as a conviction under federal law and used for impeachment

purposes, even though it was not a “conviction” under Oklahoma law. The court of appeals

subsequently declined to decide whether Turner, which predated the effective date of modern rules

of evidence, was controlling in cases decided under current rules. See United States v. Sutton, No.

96-5189, 1998 WL 67318 (10th Cir. Feb. 18, 1998). Assuming the continued validity of Turner,

Rule 609 presently provides that evidence of a felony conviction is admissible to impeach a witness,

“subject to Rule 403.” See Fed. R. Evid. 609(a)(1). The Court finds the probative value of

admitting evidence of Plaintiff’s felony conviction to impeach his credibility as a witness is


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           Evidence of crimes or wrongs is admissible for purposes “such as proof of motive, opportunity,
intent, preparation, plan, knowledge, identity, or absence of mistake or accident.” See Fed. R. Evid. 404(b).

                                                     3
             Case 5:07-cv-00799-D Document 102 Filed 11/05/09 Page 4 of 10




substantially outweighed by the danger of unfair prejudice. Therefore, the Court finds that evidence

of Plaintiff’s guilty plea is also inadmissible as impeachment evidence.

        For these reasons, the Courts finds that Plaintiff’s Motion concerning his 2008 felony

conviction should be granted.

        2.       Plaintiff’s Application for Insurance

        An insurance application signed by Plaintiff on April 26, 2006, in connection with the auto

insurance policy at issue, contained an incomplete list of his prior traffic tickets and accidents. In

issuing the policy, a search of Plaintiff’s driving record revealed additional information, and on

May 2, 2006, Plaintiff was notified that a higher premium would apply. Plaintiff paid the increased

premium for his insurance coverage.

        Plaintiff asserts that any discrepancy between the application and his actual driving record

is the fault of the insurance agent who completed the form and that the discrepancy has no bearing

on his credibility or any trial issue. Plaintiff contends Defendant lacks any factual basis to allege

that he intentionally omitted any information from the application, and he argues that any omission

did not affect his insurance coverage or the processing of his claim of loss.

        Defendant does not argue in response to Plaintiff’s Motion that the application is relevant

to Plaintiff’s credibility as a witness or any issue to be raised by Defendant. Rather, Defendant

contends the application may be used to respond to anticipated issues that Plaintiff may raise at

trial.3 Defendant argues the application shows the basis of Plaintiff’s premiums and thus is relevant




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          Defendant argues: “It is anticipated that Plaintiff intends to make an issue of the fact that Plaintiff
paid a substantial monthly premium through automatic withdrawal and when that premium wasn’t paid, a
cancellation notice was received.” See Def.’s Resp. Br. [Doc. No. 82] at 4.

                                                       4
            Case 5:07-cv-00799-D Document 102 Filed 11/05/09 Page 5 of 10




“[t]o the extent Plaintiff intends to make an issue regarding the premium paid.” See Def.’s Resp.

Br. [Doc. No. 82] at 4.

       On the present record, the Court cannot assess Defendant’s theory of admissibility of

Plaintiff’s application for insurance. However, because Defendant does not address the issue raised

by Plaintiff or suggest any factual basis to contend that an omission from the application is evidence

of a false statement or untruthfulness by Plaintiff, the Court grants Plaintiff’s Motion to the extent

of ruling that Defendant may not use the insurance application for impeachment purposes at trial

without first providing advance notice to Plaintiff and the Court outside the presence of the jury.

       3.      Defendant’s Request for Appraisal

       Plaintiff seeks to exclude evidence that Defendant stated through communications from its

counsel of record, Stefan Wenzel, to Plaintiff’s counsel of record, Jeremy Carter, in April, 2008, and

September, 2008, that Defendant was invoking the appraisal provision of the policy. This provision

allows a dispute regarding the amount of a loss to be resolved by means of an appraisal procedure.

Plaintiff contends that his failure, through counsel, to respond to this request should be excluded as

irrelevant, unduly prejudicial, and confusing to the jury, pursuant to Rule 402 and 403. Plaintiff

argues that it would be unfair to permit defense counsel to question him about a failure to respond

to a demand for appraisal when he will be unable to offer rebuttal evidence; he can neither call

defense counsel as a witness to be questioned about the request nor call his attorney as a witness to

explain the lack of a response.

       Defendant contends that evidence regarding its request for appraisal is relevant and necessary

to respond to Plaintiff’s anticipated evidence, discussed below, that Defendant continued to engage

in bad faith conduct after the lawsuit was filed. As the Court understands Defendant’s position, it

                                                  5
             Case 5:07-cv-00799-D Document 102 Filed 11/05/09 Page 6 of 10




argues that either no post-litigation conduct is admissible or all post-litigation efforts to settle the

claim are admissible. The Court disagrees, as discussed further below.

        With regard solely to Plaintiff’s Motion, the Court agrees that Defendant may not introduce

evidence that its counsel made a request for appraisal. First, the Court is unclear how Defendant

could lay a proper foundation for such evidence without utilizing counsel as a witness; it does not

appear that anyone other than Mr. Carter and Mr. Wenzel were parties to those communications.4

Assuming Plaintiff could respond to questions about such a request, the relevance of any such

questions would be substantially outweighed by the risk of unfair prejudice and misleading the jury

because Plaintiff would be unable to rebut such evidence.

        Therefore, the Court finds evidence that Defendant, through counsel, attempted to invoke

the appraisal provision of the policy in 2008 should be excluded under Rule 403.

B.      Defendant’s Motion in Limine

        Defendant seeks to exclude evidence and argument in two subject areas: (1) Defendant’s

post-litigation conduct and claim handling; and (2) references to Special Investigation Unit (SIU)

files regarding other insureds.

        1.       Defendant’s Post-Litigation Claim Handling

        Defendant argues with regard to post-litigation conduct that permitting Plaintiff to introduce

such evidence would improperly and unfairly penalize Defendant for its policy regarding litigated

claims and for delay inherent in litigation. Defendant’s argument is that, once a lawsuit is filed, a


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          Further, according to the Final Pretrial Report, both attorneys will appear as trial counsel, and thus
they cannot ethically be trial witnesses. Under Rule 3.7 of the Oklahoma Rules of Professional Conduct,
which this Court has adopted: “A lawyer shall not act as an advocate at trial in which the lawyer is likely to
be a necessary witness,” except in limited circumstances. See Okla. Stat. tit. 5, ch. 1, app. 3-A, R. 3.7(a).

                                                       6
          Case 5:07-cv-00799-D Document 102 Filed 11/05/09 Page 7 of 10




claim must be handled by counsel and further investigation and evaluation becomes part of the

litigation process, subject to rules of procedure, discovery, and evidence. Defendant cites Buzzard

v. Farmers Ins. Co., 824 P.2d 1105 (Okla. 1991), for the proposition that the focus of a bad faith

claim is the time period that a claim is being reviewed, and Timberlake Construction Co. v. U.S.

Fidelity & Guaranty Co., 71 F.3d 335 (10th Cir. 1995), for the proposition that an insurer’s litigation

activities should rarely, if ever, be admissible on the issue of bad faith. Defendant asserts that all

evidence of its post-litigation conduct regarding Plaintiff’s claim is irrelevant and inadmissible under

Rules 403 and 408, which governs evidence of compromise negotiations.

        Plaintiff contends the case authorities cited by Defendant are inapposite under the facts of

this case. Plaintiff argues that his insurance claim has never been denied but, according to defense

witnesses, remains open and under review. Plaintiff further argues that, unlike Timberlake, he is not

seeking to introduce evidence of litigation activities by defense counsel but only continuing conduct

by Defendant that generated no payment for Plaintiff’s loss until May, 2009, almost three years after

the theft, and has left his claim unresolved.

        Upon consideration of the cited cases and review of the Final Pretrial Report, the Court finds

itself unable to draw the bright-line rule sought by Defendant, barring admission of all evidence

regarding post-litigation conduct. The conduct at issue in Timberlake was litigation conduct of

insurance counsel, namely, disparaging remarks in a letter to the insurance adjuster, the filing of a

counterclaim ,and a motion to join a third party. No such litigation activities are at issue in this case.

Here, the parties plainly agree that some post-litigation facts, such as Defendant’s payments for the

value of Plaintiff’s truck in May, 2009, are relevant and evidence of these facts is admissible.

Plaintiff states that the payments and the valuation process that generated them were not part of any

litigation process or settlement negotiations. Further, from the limited information provided in the

                                                    7
             Case 5:07-cv-00799-D Document 102 Filed 11/05/09 Page 8 of 10




Final Pretrial Report concerning Defendant’s exhibits, most of them post-date the filing of this

lawsuit. Setting aside the problem of how Defendant will lay a foundation for exhibits that consist

of correspondence between counsel, discussed above, Defendant should not be allowed to rely on

post-litigation events to demonstrate its effort to comply with the policy and the pay the claim while

denying Plaintiff any opportunity to argue that Defendant’s effort was unreasonable and insufficient.

It would seem that Defendant’s policy regarding claim handling or adjustment after a lawsuit is filed

may be explained to the jury in the same manner as other claims handling policies or practices.

        Activities of Defendant in the nature of the continuation of claim evaluation, processing, and

payment or non-payment – post litigation – will be generally deemed admissible. However, the

Court finds itself unable to rule categorically in advance of trial that all post-litigation conduct is

inadmissible. Defendant’s objections based on principles of relevance, undue prejudice, and offers

of compromise should be asserted at trial as appropriate to particular testimony or items of evidence.

        2.      Defendant’s Other SIU Files

        During discovery in this case, the Court ordered Defendant to produce “[t]he entire contents

of the claim files and SIU files (if not contained within the claim files) for all auto theft claims that

were investigated by the Dallas SIU during 2006.” See Order 7/2/08 [Doc. No. 31]. The parties

indicate in their briefs that this Order yielded 78 files that Plaintiff will utilize at trial as evidence

of Defendant’s alleged practice of making unwarranted referrals of claims for SIU investigation,

thus unreasonably delaying the adjustment of such claims. These 78 files represent approximately

12% of the auto theft claims handled by the Dallas office in 2006. Defendant argues that this

number is insufficient to establish a pattern of SIU referrals and that the facts of other SIU files are

sufficiently dissimilar to render them of “marginal relevance” and their admission unduly



                                                    8
           Case 5:07-cv-00799-D Document 102 Filed 11/05/09 Page 9 of 10




prejudicial. Defendant appears to seek the exclusion of all evidence regarding other SIU files under

Rules 403 and 404(b).

       Plaintiff contends these 78 files are relevant to show Defendant routinely failed to follow its

own internal guidelines for making SIU referrals and acted recklessly with regard to the impact of

such referrals on insureds. Plaintiff argues that the evidence will show Defendant failed to train its

claims adjusters regarding appropriate SIU indicators and permitted claims processing to be

unnecessarily delayed through inappropriate referrals.

       On the present record, the Court cannot determine that Plaintiff’s evidence regarding

Defendant’s other SIU referrals is inadmissible. Assuming the evidence shows, as argued by

Plaintiff, that his SIU referral and “over 2/3” of other referrals were contrary to Defendant’s

established guidelines, the Court concludes that evidence of other SIU referrals is relevant to prove

unreasonable conduct by Defendant with regard to investigating and adjusting auto theft claims.

Further, Defendant has not persuaded the Court that this evidence should be excluded under

Rule 403 or Rule 404(b). Therefore, at this juncture, Defendant’s Motion will be denied without

prejudice to a renewed objection during the trial, if appropriate. Defendant may also request a

limiting instruction by submitting a proposed jury instruction for consideration by the Court in

advance of the presentation of this evidence.

       IT IS THEREFORE ORDERED that Plaintiff’s Motion in Limine [Doc. No. 66] is

GRANTED in part as follows:

       •        Defendant is prohibited from presenting evidence of Plaintiff’s 2007 arrest and 2008

               guilty plea to a felony offense.




                                                  9
           Case 5:07-cv-00799-D Document 102 Filed 11/05/09 Page 10 of 10




       •       Defendant is prohibited from utilizing Plaintiff’s April, 2006, insurance application

               for impeachment purposes without first providing advance notice to Plaintiff and the

               Court outside the presence of the jury.

       •       Defendant is prohibited from introducing evidence that Defendant, through counsel,

               attempted to invoke the appraisal provision of the policy in 2008.

       IT IS FURTHER ORDERED that Defendant’s Motion in Limine [Doc. No. 74] is DENIED

as set forth above.

       IT IS SO ORDERED this 5th day of November, 2009.




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